                                            21-MJ-4235-OTAZO-REYES
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  AO 91 (Rev 11/11) Criminal Complamt                                                                                     FILED
                  KS
                                       UNITED STATES DISTRICT COUR                                                     NOV 1 ,.,
                                                                  for the                                                                      /
        Nov 16, 2021                                                                                            L_ .�
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                                                        Eastern District ofVirginia                          C1..E,1r<, us   ---
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                   MIAMI


                  Uuiled States ofAmerica                            )             UNDERSEAL
                              V.                                     )
                                                                     )             Case No. 4:21mj_lll_
                       PEDRO SALlNA                                  )
                                                                     )
                             Defendanl(s)                            )

                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

              On or about the date(s) ofNovernber 2, 2021 in the Eastern District of Virginia, the defendant{s) violated:

                    Code Section(s)                                              Offense Description(s)
           46 u.s.c. § 70503                Manufacture, Distribution, or Possession of more than 5 kilograms of Cocaine on a Vessel




         This criminal complaint is based on these facts: Please see attached Affidavit

         � Continued on the attached sheet.


        READ AND APPROVED:

                       Isl
        Eric M. Hurt,
        Assistant United States Attorney




                                                                                              Pnnted name and 111/e




S\\ om to before me and signed in my presence.


Date:             November 12, 2021


City and state:    orfolk, Virginia                                        Robe,t J. Krask, United States Magistrate Judge
                                                                                              Printed name and tlllt
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